            Case 1:17-cv-10055-JGD Document 40 Filed 02/21/18 Page 1 of 3



                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

____________________________________
                                    )
CHEEMA’S SUPERMARKET                )
                                    )
            Plaintiff.              )
                                    )
      v.                            )                Civil Action No. 17-10055-JGD
                                    )
UNITED STATES of AMERICA            )
                                    )
                                    )
            Defendant.              )
____________________________________)

 JOINT STATUS REPORT AND MOTION TO AMEND THE SCHEDULING ORDER

       NOW COME the parties, Cheema’s Supermarket, and the United States Department of

Agriculture (“USDA”), by and through their respective counsel, and jointly submit this Status

Report and Motion to Amend the Scheduling Order as follows:

       1.       This action seeks judicial review of the Final Agency Decision of the USDA

disqualifying Cheema’s Supermarket from the Supplemental Nutritional Assistance Program

(“SNAP”).

       2.       Following a status conference on January 11, 2018, the Court set a schedule for

any remaining discovery and a further status conference for March 2, 2018 (Document No. 36).

       3.       Since the January 11, 2018 status conference, the parties have worked

cooperatively to resolve issues relating to supplemental responses and follow up discovery

requests.

       4.       Specifically, Defendant provided supplemental discovery responses on February

6, 2018 and follow up requests to Plaintiff, which is in the process of supplementing its

responses.
            Case 1:17-cv-10055-JGD Document 40 Filed 02/21/18 Page 2 of 3



       5.        During this process, Defendant identified twenty five pages that had been omitted

from the administrative record previously filed with the Court. As such, Defendant promptly

provided those pages to the attorneys for the Plaintiff and, on February 9, 2018, filed a Corrected

Administrative Record (Document No. 38), which includes the twenty-five pages at A.R. 45a-

45y.

       6.        On February 20, 2018, the undersigned counsel participated in a telephonic

discovery conference. The parties agree that additional time is necessary for Plaintiff to

supplement its discovery responses and for the parties to conduct limited additional discovery

relating to A.R. 45a- 45y and the information contained therein.

       7.        In order to complete the remaining discovery, therefore, the parties jointly request

that the Court extend the discovery schedule by 45 days and enter the following deadlines:

             •   Plaintiff may serve, by March 2, 2018, additional written discovery responses,
                 limited to five document requests and five interrogatories, upon the Defendant
                 relating to A.R. 45a- 45y and the information contained therein;

             •   Defendant will respond to the additional requests within the time provided by the
                 Federal Rules unless otherwise agreed by the parties;

             •   Plaintiff will supplement its discovery responses by March 30, 2018; if Plaintiff
                 does not intend to supplement any of the responses identified by the Defendant as
                 incomplete, it will notify Defendant of its objections by March 15, 2018;

             •   Discovery will close on April 15, 2018.

             •   The Status conference scheduled for March 2, 2018 shall be continued to a date
                 on or after April 23, 2018.

       WHEREFORE, for the reasons set forth herein, the parties jointly request that the Court

extend the discovery deadlines and continue the March 2, 2018 status conference to a date on or

after April 23, 2018.




                                                  2
             Case 1:17-cv-10055-JGD Document 40 Filed 02/21/18 Page 3 of 3



            Respectfully submitted,                           Respectfully submitted,


            CHEEMA'S SUPERMARKET                              ANDREW E. LELLING
            Plaintiff                                         United States Attorney


            By: _/s/John R. Bita III                          By: /s/Jessica P. Driscoll
                John R. Bita III, Esq.BBO No. 667886             Jessica P. Driscoll, BBO No. 655394
                35 India Street - Third Floor                    Assistant United States Attorney
                Boston, MA 02210                                 United States Attorney=s Office
                Tel: (617) 538-5407                              John Joseph Moakley U.S. Courthouse
                Fax: (888) 201-8530                              1 Courthouse Way, Suite 9200
                jrb@bitalaw.com                                  Boston, MA 02210
                                                                 (617) 748-3398
                                                                 Jessica.Driscoll@usdoj.gov

            By: /s/James E. Neyman
                James E. Neyman, BBO No. 555229
                James E. Neyman & Associates, P.C.
                76 Canal Street, 4th Floor
                Boston, MA 02114
                (617) 723-2627
                james@neymanandassociates.com

                                        Local Rule 7.1 Certificate

           I hereby certify that this status report and motion is being filed jointly on behalf of all
parties.

Date: February 21, 2018                                   /s/ John R. Bita III

                                     CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF).


Date: February 21, 2018                                   /s/ John R. Bita III




                                                      3
